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                                UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                       BRUNSWICK DIVISION



                                                                                               FILED
UNITED STATES OF AMERICA,                                                               Scott L. Poff, Clerk
                                                                                     United States District Court

                                                                                By casbell at 10:16 am, May 28, 2019
                          Plaintiff,
                                                            Case No. 2:18cr22
          vs.



STEPHEN M. KELLY, S.J.,

                          Defendant.



                 DEFENDANT'S OBJECTIONS TO THE MAGISTRATE JUDGE'S
                                   REPORT & RECOMMENDATION



         Under 28 U.S.C. § 636(b)(1)(C), Defendants submit the following objections to the

Magistrate Judge's("USMJ")Report and Recommendation("R&R")issued on March 26, 2019

and also request oral argument in order for the Court to make a de novo determination on the

matters herein.


   I.           Defendants' Objections to the R&R on the RFRA Defense

                A. Defendants' Objections to R&R Section II.C:'^Substantial Burden"

                B. Defendants' Objections to R&R Section II.D: "Compelling Interest"

                C. Defendants' Objections to R&R Section lI.E: "Least Restrictive Means"

                D. Conclusion under RFRA


   II.          Defendants' Objections to the R&R on Selective Prosecution

   III.         Defendants' Objections to the R&R on Duplicity/Multiplicity

   IV.          Defendants' Objections to the R&R on Failure to State an Offense

   V.           Conclusion
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I.     Defendants' Objections to the R&R on the RFRA Defense*

       In a number of conclusions and proposed findings, the R&R contains statements that are

clear error based on the evidence or it contains incorrect statements of the law.^ Moreover, at key

points in the R&R, it incorrectly interjects or assumes facts for which the Government never

offered any evidence or proved. Examples are provided below in the following sections. It is the

obligation ofthe Government to provide evidence to support its prosecution or to justify its actions

under RFRA. Where the Govemment has the burden of producing evidence and proving its case,

it is not the role of the Court to propose facts which were not proven, or to make arguments the

Govemment did not make,in order to advance the Government's prosecution ofthis case. The role

of the Court is to be a neutral arbiter of the contested issues, and not to prop up the failure of a

party in its proof burdens.

       Defendants note that the R&R,in its Section II.A (''Religious Exercise"),^ states: "Based

on all the evidence in this record, 1 find Defendants' April 2018 actions on Kings Bay were

religious in nature." R&R at 46. The R&R correctly acknowledges that Defendants' actions were

acts of "symbolic disarmament," that they were both "sacramental actions" and "prophetic

actions," and that they were aimed to reflect "the rejection of violence" espoused by the

Defendants. R&R at 46-47. The Defendants'"religious beliefs were prominent during the planning


      ' For clarity of reference. Defendants refer to and cite Doc. 411 ("Order and Magistrate
Judge's Report and Recommendation")as"R&R".
        ^ Defendants incorporate in these objections the supporting arguments they provided in
their Supplemental Briefs on RFRA in September 2018(Docs. 245, 248,253,254,257,259,261)
and in their Supplemental Evidentiary Briefs on RFRA in January 2019(Docs. 335,336,337,338,
339, 341,342).
     ^ In this section of this document, unless otherwise indicated, references to sections of the
R&R are references to the "Discussion" portion of the R&R (beginning at p. 40), and particularly
to Section 11,"The RFRA Defense."
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and execution ofthe April 2018 action and their defense in this case." R&R at 47. These proposed

findings are amply supported by the evidence."^

       Defendants also note that the R&R,in its Section ILB("Sincerity"), states:"Based on my

observations of Defendants' demeanor and credibility during the evidentiary hearing and at other

appearances before this Court, as well as my review of the record, I find that Defendants have

credibly shown that they sincerely believe that symbolic disarmament is a religious exercise."

R&R at 48."Furthermore, each Defendant believes that he or she was compelled by their religious

beliefs, their primacy of conscience, and ultimately, by God, to demonstrate and take action in

opposition to the presence of nuclear weapons at Kings Bay. The undersigned has no doubt that

each Defendant actually and genuinely holds these beliefs, and, therefore, 'sincerely' holds these

religious beliefs for the purposes of the RFRA analysis." R&R at 49. These findings are amply

supported by the evidence.^ While the USMJ decided these factual issues correctly, his ultimate

conclusions of law, however, are in both complete disregard ofthese factual findings and further,

the law is not correctly applied to these correct factual findings as outlined below.

       A.      Defendants' Objections to R&R Section ILC:"Substantial Burden"

       In keeping with the Supreme Court's direction, the District Court must determine whether

the Government's criminal prosecution "imposes a substantial burden on the ability of the

[Defendants] to conduct [their actions] in accordance with their religious beliefs.''^ Burwell v.




         Any objection that the Defendants have to any particular proposed finding in R&R
Section II.A will be made in the context of their objections to other issues discussed in the R&R,
where the proposed finding plays a role.
       ^ Any objection that the Defendants have to any particular proposed finding in R&R
Section TLB will be made in the context of their objections to other issues discussed in the R&R,
where the proposed finding plays a role.
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Hobby Lobby Stores. Inc.. 573 U.S. 682, 686, 134 S.Ct. 2751, 2778, 189 L.Ed.2d 675 (2014)

(emphasis in original). The Eleyenth Circuit has held that "[a] law is substantially burdensome

when it places 'significant pressure' on an adherent to act contrary to her religious beliefs, meaning

that it 'directly coerces the religious adherent to conform... her behayior.'... Thus,the Goyemment

imposes a substantial burden when it places 'pressure that tends to force adherents to forego

religious precepts.'" Eternal Word Teleyision Network. Inc. y. Secretary of U.S. Department of

Health and Human Seryices. 818 F.3d 1122, 1144 (11th Cir. 2016)(quoting Midrash Seohardi.

Inc. y. Town of Surfside. 366 F.3d 1214, 1227 (11th Cir.2004), cert, denied, 543 U.S. 1146

(2005)). In Midrash Seohardi. the Court discussed Supreme Court cases in which a burden was

found to be "substantial" when goyemment put "substantial pressure on an adherent to modify his

behavior and to violate his beliefs." Id, 366 F.3d at 1226-27 (citing Hobbie v. Unemployment

Appeals Comm'n of Fla.. 480 U.S. 136, 141, 107 S.Ct. 1046,94 L.Ed.2d 190(1987)).^

       In the present case, the Government's prosecution to enforce the trespass and property

statutes is intended to,and certainly does, place "substantial pressure" on the Defendants to modify

their behavior and to violate their beliefs. As the Govemment's evidence shows, this criminal

prosecution is intended to pressure Defendants not to engage in sacramental symbolic disarmament

on the base. As Captain Lepine testified, "failing to prosecute them would only reinforce that

behavior." Doc. 316 at 230; also see Captain Lepine's Affidavit,Doc. 227-1 atf 10, p. 6. Criminal

prosecution is infact substantial pressure not to engage in sacramental symbolic disarmament, and




       ^ Although Midrash Sephardi involved the Religious Land Use and Institutionalized
Persons Act(RLUIPA), the Eleventh Circuit applies "the same substantial burden analysis under
both RLUIPA and RFRA." Etemal Word. 818 F.3d at 1144 fn. 23.
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imprisonment prevents similar prophetic religious actions by the Defendants, even if those actions

were otherwise permitted on public or private land.

        Defendants object to the numerous errors stated in the R&R at pages 53-58, including the

erroneous ultimate conclusion that "[bjecause Defendants could have exercised their sincerely

held religious beliefs without running afoul of criminal laws, the criminal laws giving rise to the

charges in this case do not substantially burden Defendants' religious beliefs." R&R at 58.^ In the

remainder of this section, the Defendants identify and discuss the principal specific errors of fact

and law that purport to support this ultimate conclusion.

        The common-sense policy behind RFRA is that if the Defendants' actions, for which they

have been charged, were motivated by and in accordance with their sincerely-held religious beliefs

(as the R&R found), then the Government's attempt to imprison these Defendants for conducting

those very actions must pass strict judicial scrutiny (the "compelling interest test"). See 42 U.S.C.

§ 2000bb(b)(l)(Congress's purpose in enacting RFRA was to restore the compelling interest test).

If governmental action to imprison someone precisely for exercising her or his religious beliefs

does not merit strict scrutiny, what governmental action would? In many cases, the courts have



        ^ For the same reasons given in the text, the following statements in the R&R are also clear
errors of fact and law: R&R at 55 ("there is no substantial burden because Defendants could have
exercised their religious beliefs without violating the laws under which they are charged"); id.
("Therefore, Defendants' religious beliefs are not in conflict with general laws prohibiting
trespass, injury to government property, or conspiracy, and those laws do not impose a substantial
burden on Defendants' religious beliefs.").
        Defendants also object to, as clear errors offact and law,the overall summaiy ofthe R&R's
recommendation on this issue:"In conclusion, ... [Defendants] fail to show they were religiously
required to perform that exercise without pennission behind the perimeter fencing. Thus, the
statutes under which Defendants are charged do not directly put Defendants in a choice to break
the law or abstain from their religiously required practice. In absence of a conflict between
Defendants' religious beliefs and the laws they challenge, no substantial burden exists." R&R at
65.
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found that lesser governmental actions than imprisonment have constituted a "substantial burden,"

For example, in Davila. when federal prison officials refused to allow a prisoner who was a

Santeria priest to have his personal Santeria necklaces and Cowrie shells delivered to him in prison

by his goddaughter, who was a Santeria priestess, the Eleventh Circuit held that the District Court

erred in granting summaryjudgment for the government,in part because "Mr. Davila has therefore

shown, at least at this stage of the litigation, that the [prison officials] substantially burdened his

religious exercise by flatly preventing him from having his beads and shells." Davila v. Gladden.

Ill F.3d 1198, 1205(11th Cir. 2015), cert, denied^ 136 S.Ct. 78(2015). Certainly, a fortiori, any

attempt to imprison a person for "having his beads and shells" would also constitute a substantial

burden.^



       ^ The R&R seems to recognize the logic and policy behind this conclusion, but erroneously
backs away from drawing the conclusion,asserting that then "every criminal prosecution involving
a sincere religious exercise would trigger strict scrutiny." R&R at 53-54. But every criminal
prosecution for sincere religious conduct should trigger strict scrutiny. See Guam v. Guerrera. 290
F.3d 1210,1222(9th Cir. 2002)(holding that "[a] statute [substantially] burdens the free exercise
of religion" for purposes of RFRA "when,if enforced, it 'results in the choice to the individual of
either abandoning his religious principle or facing criminal prosecution,'" quoting Braufeld v.
Brown. 366 U.S. 599, 605, 81 S.Ct. 1144, 6 L.Ed.2d 563 (1961)). The four cases that the R&R
cites for its proposition that "courts have been reluctant to find that prosecution alone constitutes
a substantial burden," R&R at 53, are not persuasive for adopting a rule that criminal prosecution
cannot be a substantial burden.

        The case of United States v. Jeffs. 2016 WL 6745951 at *7(D. Utah Nov. 15, 2016), is
actually counter to the reasoning in the R&R. The defendants in the present case, unlike the
defendants in Jeffs, are not arguing that the mere fact of prosecution alone constitutes the
substantial burden. It is the enforcement ofthe trespass and property statutes by means ofcriminal
prosecution that imposes the substantial burden. The court in Jeffs recognized this distinction,
stating:"To be sure, statutes and regulations carrying criminal penalties may impose a substantial
burden. But the Court must look at how those statutes and regulations relate to Defendants'
religious exercise to determine whether a substantial burden exists." Id. at *7(emphasis added).
That is exactly what the Defendants in this present case are arguing.
        Kaemmerling v. Lappin. 553 F.3d 669(D.C. Cir. 2008), was not a criminal prosecution,
but a case in which a federal prisoner sought to enjoin application of the DNA Analysis Backlog
Elimination Act of 2000, and the Circuit Court affirmed the dismissal of the case because the
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        Of course, "in order to constitute a 'substantial burden' on religious practice, the

government's action must be'more than... incidental' and 'must place more than an inconvenience

on religious exercise.' That is, to constitute a substantial burden[], the governmental action must

significantly hamper one's religious practice." Davila, 777 F.3d at 1205 (quoting Smith v. Allen.

502 F.3d 1255, 1277 (11th Cir.2007) (citation omitted), which was in turn quoting Midrash

Sephardi, Inc. v. Town of Surfside. 366 F.3d 1214, 1227 (11th Cir.2004)), abrogated on other

grounds by Sossamon v. Texas. 563 U.S. 277, 131 S.Ct. 1651, 179 L.Ed.2d 700 (2011)). In such

cases of mere inconvenience, strict scrutiny should not be triggered. But because the Defendants'

actions were in fact a religious exercise, criminal prosecution for that very conduct is surely

coercive in nature and more than de minimis, and it must trigger strict scrutiny - which is all that

is being decided at this point in the RFRA analysis.



plaintiffs complaint failed to state a claim. Moreover, the Court held that the government's
activities did not "pressure [him] to modify his behavior and to violate his beliefs" (quoting
Thomas,450 U.S. at 718)and that he did "not allege that he is put to a choice like the plaintiffs in
Yoder,between criminal sanction and personally violating his own religious beliefs"(citing Yoder.
406 U.S. at 218). The Defendants in this present case allege and prove both propositions.
        Kiczenski v. Gonzales. 237 Fed.Appx. 149 (9th Cir. 2007), was not itself a criminal
prosecution, was decided by a Memorandum opinion not appropriate for publication, and it
affirmed the district court's dismissal of the action seeking injunctive relief from enforcement of
the Controlled Substances Act. The decision contained a single, conclusory sentence stating that
the plaintiff was unable to demonstrate how the Act's "limitation on hemp cultivation would be a
substantial burden on his broad ability to practice plant cultivation as a religious exercise" under
RFRA. There was no analysis.
        People V. Felix. Case No. ST-17-CR-203, 2018 WL 4469867 (V.l. Super. Sept. 11, 2018),
denied a motion to dismiss a charge of possession with intent to distribute marijuana. The defendant
alleged a violation of RFRA because he was a member of the Rastafarian religion. The court held
that ''[t]he Defendant might have been successful in defending against a charge of simple
possession ofmarijuana since marijuana is important to Rastafarian religious practice. But there
exists in the record no evidence establishing that the distribution of marijuana is a requirement of
Rastafarianism." Id at *4(emphasis added). There is no mention in the case ofthe Supreme Court
decisions in O Centro. Hobbv Lobbv. or Holt, and the quotation provided in the R&R was a
conclusion the court drew from a pre-RFRA Supreme Court decision.
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        What causes the R&R to come to its erroneous conclusion of "no substantial burden,"

which is contrary to law, the evidence, good policy, and common sense? It is apparently the same

wrong turn taken by the government in Hobbv Lobby, and which the Supreme Court discussed in

that case (573 U.S. at 724, 134 S.Ct. at 2778-79). The R&R "dodges the question that RFRA

presents" (here, whether criminal prosecution for trespass and property damage imposes a

substantial burden on the ability of the Defendants to act on their religious beliefs)"and instead

addresses a very different question that the federal courts have no business addressing" (here,

whether failing to ask permission, or cutting locks and fences, was a religious exercise, in view of

alternative religious possibilities). See Hobbv Lobby. 573 U.S. at 724, 134 S.Ct. at 2778. As the

R&R expresses it:

       The Court accepts that Defendants' sincerely held religious belief required they
       perform acts of"symbolic disarmament," and these beliefs required Defendants to
       engage in these acts of protest at the Kings Bay base. However, the evidence does
       not demonstrate that Defendants had a sincere religious beliefthat required them
       to engage in those activities without permission or on portions ofthefacility behind
       the perimeterfence line.

R&R,p. 55 (emphasis added). The conclusion in the second sentence is error, both as a matter of

fact and as a matter of law.

       It is clear error as a matter of fact because there is extensive uncontested testimony by

Defendants(1)that their religious beliefs compelled them to conduct their sacramental symbolic

disarmament inside the perimeter fence ofthe naval base, as close to the site ofthe Trident idolatry

as possible,(2)that asking permission would have been futile, and(3)that cutting locks and fences

was necessary in order to arrive at that location.

       First, there is uncontested testimony that the Defendants believed that any sacramental

symbolic disarmament needed to occur inside the perimeter fence, and as close as possible to the
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site ofthe idolatry.^ The R&R is trying to distinguish between being compelled by religious beliefs
to^at a location, and being compelled by those beliefs to use any particular means of getting to

that location (asking permission, lock-cutting, fence-cutting). According to the R&R,

imprisonment for getting to the location as required by Defendants' religious beliefs does not

substantially burden any religious exercise that necessarily occurs at that location. This reasoning

clearly misstates the evidence about Defendants' religious beliefs. Because the Defendants'

conduct of sacramental symbolic disarmament inside the perimeter fence was a religious exercise

motivated by their sincerely held religious beliefs(as the R&R found), imprisonment for entering

inside that perimeter fence is certainly a substantial burden on (indeed, a prohibition against) that

religious exercise, and it must pass the strict-scrutiny test.

        Second, there is uncontested testimony by numerous Defendants that seeking permission

would have been futile, because no permission would have been granted.'® This futility was


        ® As the Defendants' expert Professor Hill Fletcher explained, "the location [of the
Defendants' symbolic disarmament] is very important here in terms of a sacramental action that
called a prophetic call to transform that particular reality of idolatry and to reclaim that particular
location as part of God's creation and to transform that reality." Doc. 316 at 81. Various
Defendants testified that their religious beliefs motivated them to conduct their sacramental
symbolic disarmament inside the perimeter fence, and as close as possible to the Trident nuclear
weapons. E.g., Doc. 316 at 125-129,144-147(Defendant Father Kelly characterizing Defendants'
actions as "preaching the word of God there," and explaining why they conducted those actions
inside the perimeter fence in order to effectively communicate the preaching); Doc. 313 at 43-44
(Defendant Martha Hennessy explaining that the Defendants' symbolic disarmament needed to
occur inside the perimeter fence because "[t]he idolatry ofthese weapons and ofthe missile shrine
[i.e., the "static missile display," R&R at 3] is where this sin is being committed, £ind we needed
to stand there and be there and pray there and point [it] out"); Doc. 316 at 183-187 (Defendant
Clare Grady characterizing the Defendants' sacramental actions as "withholding consent," and
explaining why such nonviolent symbolic disarmament needed "to take place where the Trident
is," because "that's the scene of a crime,""the scene ofthe sin").
        '® Various Defendants testified that, based on their experience, seeking permission would
have been futile, because no permission would have been granted. E.g., Doc. 313 at 132-133
(Defendant Elizabeth McAlister describing her past experiences at being personally excluded even
from open-house events on military bases, to which the general public was invited); Doc. 313 at
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confirmed by Captain Lepine, who testified that"members ofthe general public are not authorized

access inside the fence line in any capacity to exercise their religious rights."" Doc. 316 at 270

(emphasis added). He also stated: "I do not have a policy to afford access to Naval Submarine

Base Kings Bay for noncredentialed's [sic] personnel to come onboard the base to exercise their

right for ... any matter,... whether ifs a religious event or a nonreligious event." Doc. 316 at 271.

Moreover, the attempt in the R&R to turn "failing to ask permission" into separate conduct

requiring a religious connection is misleading, because the R&R is proposing a position with an

implication that the naval command at Kings Bay has rejected (i.e., that permission might have

been granted).



164-165 (Defendant Patrick O'Neill describing his experience of being arrested after asking
permission to attend public events on military bases); Doc. 316 at 191-192,197(Defendant Clare
Grady describing her past experiences of being tricked by being arrested after obtaining a permit);
and Doc. 313 at 61-62 (Defendant Martha Hennessy testifying that she believed that contacting
officials at the base ahead oftime for permission would have been futile).
        Thus,the following statements in the R&R are clear errors offact:"To be clear. Defendants
did not establish that their request would have been futile, only that they anticipated it would be
rejected. At most. Defendants pointed to instances at other military installations where they had
been removed or prohibited from protesting." R&R at 57 n. 38.
       '' Thus,the assertion in the R&R that"Defendants did not establish that their request would
have been futile"(R&R at 57 n. 38) is clear error. Similarly, the assertion that "[tjhis amounts to
nothing more than conjecture that the Kings Bay base commander would have refused a request
by these Defendants"(id)is also clear error.
         Turning "failing to ask permission" into separate conduct is also irrelevant, because the
Defendants are not being prosecuted for "failing to ask permission." It is irrelevant to assert, as the
R&R does,that"nothing in Defendants' testimony indicates their religious beliefs prohibited them
from asking permission." No substantive law involved in this case requires Defendants to "ask
permission," so this assertion in the R&R is not relevant, and reliance on it is contrary to law.
       Yet the R&R devotes a page to defending the confusing and erroneous proposition that
"Defendants cannot both assert that their religion requires unauthorized entry and prohibits
requests for permission and that the Govemment can accommodate Defendants' religious beliefs
by providing Defendants space on the base to engage in symbolic disarmament." R&R, p. 56
(emphasis in original). There is nothing inconsistent between the testimony that the Defendants
were compelled by their religious beliefs to conduct symbolic disarmament inside the perimeter
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        Third,the assertion in the R&R that"Defendants have not shown that their beliefs required

them to cut locks and fences to enter the protected area ofthe base"(R&R at 57)is contrary to the

imcontested testimony of the Defendants, and therefore clear error. Several Defendants testified

explicitly about being motivated by their religious beliefs to cut locks and fences. That they

believed that their religious faith required them to cut locks and fences is also implicit in their

testimony that their religious beliefs compelled them to conduct the symbolic disarmament at

locations inside the perimeter fence. If access to those locations was barred by locks and fences,

then they were testifying to being compelled to find some way around or through those physical

barriers.




fence, and the reality that asking permission would have been futile. Moreover, it is perfectly
consistent that ifthe base were to allow symbolic disarmament inside the fence(contrary to current
base policy), at least some of the Defendants would take advantage of the opportunity to conduct
their nonviolent acts of sacramental symbolic disarmament at the permitted locations and times.
See footnote 40 infra.
           E.g., Doc. 313 at 31-32 (Defendant Martha Hennessy testifying to her religious beliefs
that the cutting of a padlock and entered through the fence in which the padlock was cut were
expressions of her Catholic faith); Doc. 245-5 at 45-47(Defendant Elizabeth McAlister stating
in her Affidavit that cutting "through a couple offences to get to the bunkers," like everything she
did at Kings Bay, was a result of her religious faith and motivated by "answer[ing] the call of the
prophet Isaiah (2:4) to 'beat swords into plowshares'"); Doc. 313 at 166 (Defendant Patrick
O'Neill describing how frightening "it is to slip through a gate at that naval station and walk down
a grass path not knowing what's going to happen," but that they did it reluctantly, "because we
feel the Holy Spirit grabbing us by the scruff of the neck and dragging us along, at least I did");
Doc. 245-2 at ^ 39(Defendant Clare Grady stating in her Declaration that "for the government to
assert that I could do this ['symbolically disarm the sword that is Trident'] ... any other way
illustrates a profound lack of understanding or appreciation on their part of my sincerely held
religious beliefs"); Doc. 316 at 186-187 (Defendant Clare Grady testifying that "all of the
individual acts that took place on that night of[her] arrest" were "an expression ofa sincerely held
religious belief on [her] part").
         For evidence of Defendants' religious beliefs that their sacramental symbolic
disarmament needed to occur inside the perimeter fence, see footnote 9 supra.
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        But the quoted sentence from the R&R'^ is not only a clear factual error, it is error as a

matter of law as well. It requires the Court to rely upon the irrelevant factor of alternative means

of practicing the Catholic religion, and it addresses a question "that the federal courts have no

business addressing." If the Defendants sincerely believed that their religion required them to

successfully enter the Kings Bay naval base, after overcoming the physical barriers to doing so, in

order to perform on that base a sacramental symbolic disarmament, then the Court's "'narrow

function ... in this context is to determine' whether the line drawn [by the Defendants] reflects 'an

honest conviction.'" Hobbv Lobbv.573 U.S. at 725,134 S.Ct. at 2779(quoting Thomas v. Review

Bd. oflnd. Emp't Sec. Div.. 450 U.S. 707, 716, 101 S.Ct. 1425,67 L.Ed.2d 624(1981)); Davila.

777 F.3d 1198,1204.

        The R&R would have this Court "arrogat[e] [to itself] the authority to provide a[n] ...

answer to [a] religious ... question" {see Hobbv Lobbv. 573 U.S. at 724, 134 S.Ct. at 2778)-

namely, whether the Defendants' Catholic beliefs motivated them not to ask permission

beforehand, and motivated them to cut the locks and fences necessary to reach the locations where

they could conduct their religious sacramental acts of symbolically disarming the nuclear

weapons.




          "However, the evidence does not demonstrate that Defendants had a sincere religious
 belief thai required them to engage in those activities wilhoiit permission or on portions of the
facility behind the perimeterfence line,''' R&R,p. 55 (emphasis added).
           Several Defendants clearly recognized that drawing lines between what is religiously
more or less important is a matter for religion, not for the courts. E.g., Doc. 245-2 at f 39
(Defendant Clare Grady stating in her Declaration that "for the government to assert that I could
do this ['symbolically disarm the sword that is Trident'] anywhere else [than Kings Bay] or any
other way illustrates a profound lack ofunderstanding or appreciation on their part of my sincerely
held religious beliefs"); Doc. 313 at 43-44 (Defendant Martha Hermessy explaining why the
Defendants' symbolic disarmament needed to occur inside the perimeter fence and why "hold[ing]
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        Moreover, the R&R's reasoning clearly violates the governing RFRA principle that the

R&R itself articulates: "the substantial burden analysis does not consider the availability (or lack

thereof)ofalternative religious practices." R&R at 50,citing the Supreme Court's decision in Holt.

The R&R's assertion is that "[b]ecause Defendants could have practiced symbolic disarmament at

the Bancroft Memorial"(an alternative religious practice),"there is no direct conflict between their

religious exercise and the criminal statutes under which they are charged, and thus, no substantial

burden exists." R&R at 57-58(emphasis added). Defendants object that this statement in the R&R

clearly misapplies the law. Any reasoning that relies on the Court's own assessment of which

practices are adequate religious alternatives is the very reasoning that the Supreme Court has

unanimously rejected. The Supreme Court in Holt stated that RFRA provides protection if a

religious exercise is substantially burdened, regardless of whether the defendants are "able to

engage in other forms of religious exercise." Holt. 135 S.Ct. at 862(unanimous court)(holding

that the district court erred by concluding that the grooming policy being challenged under

RLUIPA did not substantially burden petitioner's religious exercise, because the district court

reasoned that the petitioner had alternative means of practicing religion). If courts could decide

when violating one religious belief but engaging in an alternative practice would allow defendants

to "meet their religious duties," this would draw the courts into the business of deciding which

beliefs are central to which religion. This the Supreme Court has forbidden.



up a sign protesting weapons outside the gate of the base" would not have had "the same
sacramental significance").
          As the dissent in Eternal Word has summarized: "a burden is no less substantial if the
burdened party 'is able to engage in other forms of religious exercise,' if the exercise in question
is not 'compelled' by the burdened party's religion, or if the burdened party's belief is
'idiosyncratic.'" Etemal Word, dissenting opinion, 818 F.3d at 1181 (quoting Holt. 135 S.Ct. at
862).
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        Finally, in the course of reaching its erroneous factual and legal conclusions, the R&R

proposes new legal rules that are incorrect and unworkable statements ofthe law. The R&R states:

"the objective component of the substantial burden test requires the criminal law directly conflict

with the overall religious exercise." R&R at 54 (emphasis added). Moreover, "the substantial-

burden inquiry focuses on the coercion applied by the underlying law -rather than the prosecution

itself," and "when the objectivefunction ofthe law does not directly constrict the religious practice,

any other deleterious effects would be merely incidental and inapplicable to the substantial burden

analysis." R&R at 54 fn. 36(emphasis added). These proposed new rules contain critical undefined

terms, they would be unworkable as appellate case law, and they are contrary to both the policy

underlying RFRA and the case law interpreting RFRA. Therefore, the Defendants object to these

misapplications and misstatements of the law.

        First, the proposed new rules outlined use critical terms that are vague and undefined -

e.g., "directly conflict with," "objective function," and "directly constrict."'^ Second, when the


           The R&R offers no authority for its particular formulations of these new legal rules.
Instead, it points to several cases that are clearly distinguishable from the present case, and it
provides inadequate explanation for why those cases support the R&R's proposed rules. See R&R
at 54-55. Unlike in the present case, in Eternal Word and United States v. Sterling. 75 M.J. 407
(C.A.A.F. 2016), there already existed governmental accommodations for the relevant religious
practices, but the religious actors did not take advantage of them. See Eternal Word. 818 F.3d at
1138, 1149; Sterling, 75 M.J. at 419. Unlike in the present case, in several of the cited cases, the
scope of the religious beliefs did not include the charges or actions involved in the RFRA claim.
See Guam v. Guerrero. 290 F.3d 1210,1223(9th Cir. 2002)(holding that on the record before the
court, Rastafarianism did not require importation of a controlled substance, as contrasted with
simple possession); United States v. Bauer. 84 F.3d 1549 (9th Cir. 1996)(holding that on the
record before the court, nothing suggested that Rastafarianism would require distribution of
marijuana, as contrasted with simple possession); United States v. Hutson. 2018 WL 345316 at
*5-*6 (Jan. 10, 2018)(finding that the prosecution's counts against the defendant did not involve
actions linked to any of his beliefs or practices). In two cases, there were defects in pleading the
RFRA defense. See Wilson v. James. 139 F.Supp.3d 410, 424 (D.D.C. 2015)(finding that the
plaintiffhad not asserted that the governmental action,a letter ofreprimand, substantially burdened
any religious action or practice, only his religious belief); Mahonev v. U.S. Marshals Serv.. 454
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R&R attempts to apply these new rules to this case, such vague formulations lead to erroneous

conclusions, such as the one discussed above - namely, that "the evidence does not demonstrate

that Defendants had a sincere religious belief that required them to engage in those [symbolic

disarmament] activities without permission or on portions ofthe facility behind the perimeter fence

line"(R&R at 55). This conclusion is incorrect as a matter of fact and as a matter of law, as

Defendants have demonstrated above. No new vague formulations are needed to correctly decide

the Defendants' motion to dismiss under RFRA.


        As the R&R states, the Eleventh Circuit has held that the inquiry into "substantial burden"

"involves both subjective and objective dimensions." Eternal Word. 818 F.3d at 1144. "The

objective inquiry requires courts to consider whether the government actually 'puts' the religious

adherent to the 'choice' of incurring a 'serious' penalty or 'engag[ing] in conduct that seriously

violates [his] religious beliefs.'" Id (quoting Holt. 135 S.Ct. at 862). The argument to this point in

this section contends that the Defendants have satisfied the objective inquiry in this case. In the

subjective dimension,"courts must accept a religious adherent's assertion that his religious beliefs

require him to take or abstain from taking a specified action." Id The subjective dimension ofthe

"substantial burden" has been satisfied in this case by the extensive evidence that the Defendants

believe that criminal prosecution is substantially burdening their exercise of their religious

beliefs.'^




F.Supp.2d 21, 38(D.D.C. 2006)(finding that plaintiffs did not properly allege that their religious
exercise had been substantially burdened, and in the alternative applying a standard of reasonable
time, place and manner to find no substantial burden).
          In addition to the references to the evidentiary record in preceding footnotes, for
testimony about subjective belief that criminal prosecution is a burden,see, e.g.. Doc. 316 at 146-
147 (Defendant Father Kelly); Doc. 316 at 190 (Defendant Clare Grady); Doc. 313 at 44-45
(Defendant Martha Hennessy); Doc. 313 at 83-85 (Defendant Mark Colville); Doc. 313 at 113-
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        Although the R&R's reasoning on pages 53-58 is at times difficult to follow, it is clear that

the R&R's ultimate conclusion on the "substantial burden" requirement is in error. As the

Defendants have demonstrated, the evidence and the law require a finding that the criminal

prosecution ofthese Defendants is a substantial burden on their exercise of their religious beliefs.

       B.      Defendants' Objections to R&R Section II.D:"Compelling Interest"

       As a general matter, the Government has legitimate general interests in: (1) preventing

unauthorized access to the Kings Bay naval base,(2) ensuring the safety of base personnel and

others who are on the base, and (3) protecting government property located on that naval base.

However, as explained in this section, the R&R fails altogether to carry out the further analysis

required by RFRA case law. The Defendants therefore object specifically to the proposed findings

on pages 61-62 ofthe R&R,insofar as they state conclusions about the trespass and property laws

"as applied" to these particular Defendants, as being clear errors offact and erroneous conclusions

of law.^® There is no analysis in the R&R of(A) any affirmative evidence provided by the


115 (Defendant Carmen Trotta); Doc. 313 at 140 (Defendant Elizabeth McAlister); Doc. 313 at
158-159(Defendant Patrick O'Neill).
          The three erroneous findings relating to the three general governmental interests as set
forth in the R&R are:

       The Government has demonstrated a              compelling interest in prohibiting
       unauthorized entry by these Defendants.
R&R at 61.

       Finally, the Government has shown it has a compelling interest in ensuring the
       security- and, therefore, the safety-of the base and its personnel from the dangers
       created by the actions of these Defendants.
R&R at 61-62.

       Thus, both generally and as applied to these Defendants, the Government has
       demonstrated a compelling interest in protecting its property.
R&R at 61. In addition, the section of the R&R concludes with a general erroneous
conclusion about "compelling interest":
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Government that establishes,(B)with respect to these Defendants taken individually,(C)that these

governmental interests are so compelling as to justify making no exceptions whatsoever when

considering prosecuting these Defendants for their particular religious exercise at Kings Bay. The

Defendants will first set forth the law establishing these requirements, and then state their specific

objections to the lack of adequate analysis in the R&R.

        The Supreme Court has held that under the RFRA requirement of a "compelling

governmental interest," the government has the heavy burden of establishing, against each

defendant as an individual, the government's "marginal interest in enforcing" the statutes under

which it has criminally charged that defendant. Eternal Word. 818 F.3d at 1154. Because the

Government in this case has failed to carry this burden here, the Court must dismiss the criminal

charges.

         First, the "compelling governmental interest" must be analyzed with respect to each

Defendant,taking that Defendant's individual circumstances into account. Broad claims of general

interests are inadequate, as a matter of law."RFRA ... contemplates a 'more focused' inquiry: It

'requires the Government to demonstrate that the compelling interest test is satisfied through




        Thus, the Government has easily established that it has a compelling interest in
        adopting and applying property and trespass laws that prohibit the unauthorized
        entry into the base and destmction of base property by Defendants.
R&R at 62. Also, there occurs an erroneous overall proposed finding on this issue in the R&R at
65:

         Moreover, even assuming Defendants could meet their prima facie case, the
         Government has shown that any substantial burden on Defendants would be
         outweighed by several compelling interests, both generally and as applied to these
         Defendants, ....
The Defendants point out several additional, subsidiary enoneous statements, as appropriate, in
comiection with particular discussions in the text ofthis section.
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application ofthe challenged law 'to the person' — the particular claimant whose sincere exercise

of religion is being substantially burdened." Hobbv Lobby. 573 U.S. at 726, 134 S.Ct. at 2779

(quoting O Centro. 546 U.S. at 430-431,and 42 U.S.C.§ 2000bb-l(b)). As stated by the Eleventh

Circuit, "a compelling interest alone is insufficient to satisfy RFRA; we must also assess 'the

marginal interest in enforcing' the challenged law against the religious adherents in question."

Eternal Word> 818 F.3d at 1154.


       Second, with respect to each Defendant, the Government must demonstrate "'the asserted

harm of granting specific exemptions to particular religious claimants' — in other words, ... the

marginal interest in enforcing" the statutes in the particular case. Hobbv Lobbv. 573 U.S. at 726-

27, 134 S.Ct. at 2779 (quoting O Centro. 546 U.S. at 431). The Government must prove that its

"marginal interest" in not accommodating the religious exercise of each particular Defendant is

itself "compelling." See, e.g.. Holt, 135 S.Ct. at 863 (holding that the compelling interest test

required the government to prove its marginal interest in enforcing the departmental policy of

preventing a prisoner from growing a Vi-'mch beard); see Eternal Word,818 F.3d at 1154.

       In order to carry its burden, the Government must produce evidence and prove that its

"interest would be seriously compromised by allowing" an exception or accommodation in the

case of each particular Defendant. See Holt, 135 S.Ct. at 863 ("We readily agree that the

Department has a compelling interest in staunching the flow of contraband into and within its

facilities, but the argument that this interest would be seriously compromised by allowing an

inmate to grow a '/2-inch beard is hard to take seriously.") The Eleventh Circuit has recognized

that the Government must produce substantive evidence to prove that making any exception for a

particular Defendant would "seriously compromise" the Government's ability to promote its

interest. See, e.g., Davila, 777 F.3d at 1206-07("On this record, we are left to wonder about the
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number of prisoners who may similarly request religious objects; any processes the prison

currently has for screening objects from outside sources; past incidents of mailed contraband that

justify the warden's security fears; and the actual costs and time the prison would need to spend

on screening— But prison officials cannot simply utter the magic words 'security and costs' and

as a result receive unlimited deference from those of us charged with resolving these disputes. ...

[WJhere the prison has offered no evidence to justify its cost and safety concems,the requirements

of RFRA have not been met."). Moreover,"policies grounded on mere speculation, exaggerated

fears, or post-hoc rationalizations will not suffice to meet [RFRA's] requirements." Davila. Ill

F.3d at 1206(quoting Rich v. Secretarv. Florida Dept. of Corrections. 716 F.3d 525,533(11th Cir.

2013)(internal citations and quotation marks omitted)).

       The Defendants argue that neither the Government nor the Court in the R&R has conducted

any particularized determination, with respect to any one ofthe individual Defendants,of whether

any one of the three general interests is marginally compelling (allowing no exceptions for

religious practice). Moreover, the Defendants argue that the R&R's cursory attempts to justify a

"no religious exceptions" approach in general fails to satisfy the Court's RFRA responsibilities.

This failure is due in no small part to the fact that the Government has produced very little in the

way of relevant evidence. The Defendants will examine the reasoning of the R&R in detail, with

respect to each asserted general governmental interest.

       First, with respect to the Government's general interest in preventing unauthorized access

to the base, the R&R notes that the Kings Bay naval base consists of 17,000 acres, some or most

of which is inside the perimeter fence but not in the Limited Area, while some is also inside the

Limited Area. R&R at 3-4. There are therefore at least three legally significant zones within the

naval base: (1) property located on the base but outside the perimeter fence (e.g., the Bancroft
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Memorial(R&R at 13));(2)property on the base inside the perimeter fence but outside the Limited

Area (e.g., the static missile display(R&R at 3-4)); and (3) property on the base and inside both

the perimeter fence and the Limited Area. The R&R notes that four ofthese Defendants conducted

their nonviolent symbolic disarmament at the "static missile display"(which the Defendants regard

as a "shrine" to the Trident missile system), which is located within the perimeter fence but outside

the Limited Area. This is the very location on the base that is such a popular destination for the

general public and of such little military importance that Scott Bassett, as public affairs officer,

has the authority to take members ofthe general public on tours to see it, and does so probably two

or three times per week. Doc.313 at 189-190,192. Given this fact,the Government owes a specific

explanation for how "compelling" it is to keep any of the Defendants away from this specific

location for religious expression of any nature as Captain Lepine testified. Yet the Government

produced no evidence that explains why this particular location on the base is so vital that the

Government has a compelling interest in criminally prosecuting any religious protestor who

conducts religious exercises there without authorization.^' Consequently, there is no analysis in

the R&R about why a "no religious exceptions" policy is compelling. Instead, the R&R addresses

this issue using only two sentences, with no footnotes,and considers its "heavy burden" ofanalysis




          The Defendants note that in the case of another trespasser who was turned over to the
the Camden County Sheriffs Department in a prior incident. Captain Lepine testified that he did
not know whether federal charges were brought against that trespasser(Doc. 316 at 258-259), and
Captain Lepine apparently did not even issue a debarment letter in that case {see id at 286). Indeed,
the evidence would support a finding that the Government has in fact singled out these defendants
in bringing a federal criminal prosecution in their case-the very opposite of what RFRA requires.
At the very least, the Government owes an explanation of how "compelling" its interests are in the
case ofthese nonviolent religious protestors versus other "trespassers" on the base.
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under RFRA to be satisfied. The Government had the burden to produce such evidence, and the

Court is not permitted to speculate about why a policy of "no religious exceptions" might

conceivably be compelling. This is an example of the tendency in the R&R to accept the fact that

the Government has failed to satisfy its RFRA responsibility of evidence production, and to

attempt to cover over the lack of evidence with speculation and unsupported findings.

       Second, with respect to the Government's general interest in protecting the safetv ofthose

on the base (both security personnel and the general public, including the Defendants), the R&R

speculates that these "Defendants put themselves and base personnel at risk (e.g., the exercise of

deadly force could have easily resulted in casualties among Defendants or those charged with base

security)." R&R at 62(emphasis added). This finding is clear error. The Government produced no

evidence to support this proposed finding, and what relevant evidence there is runs counter to this

conclusion. The R&R found that the Defendants themselves are religiously opposed to violence,

and that their actions on Kings Bay were undertaken to promote nonviolence. R&R at 47.

Moreover, the Govemmenfs own evidence demonstrates that, in the context of the Defendants'

actions at Kings Bay,"at no time was anybody threatened,""there were no reported injuries," and

"no military personnel or 'assets' were in danger"(statement of Scott Bassett to The Washington

Post, reported on April 5, 2018, and reaffirmed by Scott Bassett at the evidentiary hearing. Doc.



          The two sentences, to which the Defendants object as being clear error and
misapplication of law, are(R&R at 61):
       Second,the Government has demonstrated a compelling interest in adopting laws
       to protect against unauthorized access to sensitive military areas by these
       Defendants-individuals who have no security clearances, no base-provided
       supei*vision, and who have expressed their desire to impact the military and
       national security operations at the Kings Bay facility. The Government has
       demonstrated a compelling interest in prohibiting unauthorized entry by these
       Defendants.
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313 at 190,191-192; also 179). Thus,the Government acknowledges that the defendants' religious

exercises on April 4-5 were in fact nonviolent and posed no harm.^^ Finally, even if the Court's

speculation that "the exercise of deadly force could have easily resulted in casualties" were

erroneously allowed about events inside the Limited Area, there is no basis whatsoever for

allowing such speculation with respect to the events at the static missile display (outside the

Limited Area). There is no justification in the R&R for concluding that a governmental policy of

"no religious exceptions" anywhere on base property (even where public tours are allowed) is

necessary for protecting human safety, and the Government has not produced sufficient evidence

for reaching this conclusion.^"*




         See also the testimony of Agent Clinedinst at Martha Hennessy's and Elizabeth
McAlister's bond hearing, that he did not perceive the defendants to be "threatening." Doc. 56 at
33(May 17, 2018 Bond Hearing Transcript).
           The R&R devotes a total of three sentences to establishing this marginal interest in "no
religious exceptions"as compelling,including the conclusion. The R&R erroneously proposes that
the following satisfies the "heavy burden" under the compelling interest test:
       Finally, the Government has shown it has a compelling interest in ensuring the
       security- and, therefore, the safety-of the base and its personnel from the dangers
       created by the actions of these Defendants. The Government established that the
       Ohio-class submarines are more vulnerable to attack when docked at the base than
       when deployed, and that the Kings Bay facility utilizes extraordinary security
       measures, including the use of deadly force, to ensure the security of the base. By
       entering the base and its most sensitive areas without authorization. Defendants put
       themselves and base personnel at risk (e.g., the exercise of deadly force could have
       easily resulted in casualties among Defendants or those charged with base security).
R&R at 61-62. The first sentence merely states the conclusion, which is erroneous as a matter of
fact and law. The third sentence is the baseless speculation, as discussed in the text. And the middle
sentence, while relevant, is insufficient to warrant a "no religious exception" policy for intruders
everywhere on the 17,000-acre base. The reality is that the Government did not take its RFRA
responsibilities seriously, and subsequently the Court's R&R failed to hold the Government to
account.
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       The present case involving only nonviolent religious protest is fundamentally different than

cases in which a defendant's religious actions detrimentally affect others. For example,in United

States V. Epstein. 91 F.Supp.3d 573 (D.N.J. 2015), aff'd sub mm. United States v. Stimler. 864

F.3d 253(3rd Cir. 2017), the defendants were charged with kidnapping and beating their victims.

Epstein, 91 F.Supp.3d at 579. The court found a "compelling [governmental] interest in uniformly

applying kidnapping laws to prevent serious crimes ofviolence.'" Id at 585(emphasis added). The

court distinguished O Centro because in Epstein the "Defendants' purported use of force to

effectuate a mitzvah ["religious commandment"]involves kidnapping and even physical violence

to others." Id at 584, 580. Moreover, the court found no "other effective means than prosecuting

those who commit a crime of violence, such as kidnapping, to enforce the Government's

compelling interest." Id at 586 (emphasis added). The Court of Appeals for the Third Circuit

affirmed, also emphasizing the violent nature of the kidnappings. United States v. Stimler. 864

F.3d 253,268(3rd Cir. 20n).^^

       Similarly, in United States v. Martines, 903 F.Supp.2d 1061 (D. Hawai'i 2012), the court

found that the government "has a compelling interest in preventing the distribution of marijuana,

and that the universal application of federal laws prohibiting distribution is the least restrictive

means of furthering that interest." Id at 1066. The court noted that the Ninth Circuit had

recognized Rastafarianism as a religion, and "has held that prosecution for simple possession of



          Cf. the concurring opinion in Holt by Justices Ginsburg and Sotomayor, 135 S.Ct. at 867
(concurring opinion)(stating that "[u]nlike the exemption this Court approved in [Hobbv Lobbvl.
accommodating petitioner's religious belief in this case would not detrimentally affect others who
do not share petitioner's belief).
          However, the court also noted that the defendants did not challenge on appeal the lower
court's determination of no substantial burden. Stimler. 864 F.3d at 267-69. Therefore, the
statements ofthe court in Stimler about substantial burden are dicta.
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marijuana may burden a Rastafarian's free exercise ofreligion." Id at 1065(emphasis in original).

The court distinguished simple possession from preventing distribution to others. See also

Guerrero.290 F.3d at 1222-23(distinguishing between simple possession ofa controlled substance

and possession with intent to distribute, within a RFRA analysis); United States v. Christie. 825

F.3d 1048, 1054, 1057-60 (9th Cir. 2016) (in a case involving charges of conspiracy to

manufacture and distribute marijuana plants, holding that the government had a compelling interest

in "mitigating the risk that cannabis from the Ministry will be diverted to recreational users"). In

the present case, none of the Defendants ever posed a threat to the safety of others, or a risk of

detrimentally affecting others, and the Government has not established any compelling interest in

enforcing a"no religious exceptions" policy.

       Third, with respect to the Government's general interest in protecting propertv located on

the base, the R&R likewise fails in the Court's duty to hold the Government to its RFRA

responsibilities. Here, the R&R states two propositions that purport to satisfy the heavy burden of

establishing, against each Defendant as an individual, the government's "marginal interest in

enforcing" the statutes under which it has criminally charged that Defendant. R&R at 61 n. 40.-'


          Defendants object to the first sentence as an erroneous conclusion of law: "The
circumstances ofthis case-clandestine, nighttime entry and property destruction at a military base
that serves a critical role in national security-present one of the rare instances where the
Government may properly assert a general, as opposed to 'as-applied,' compelling interest." R&R
at 61 n. 40. If adopted as law. this sweeping rule would exempt all military installations from the
compelling interest test, regardless of the motive for entering or the amount of property damage
done. This rule would apply to any person spray-painting the perimeter fence at night. The only
reason why the Court might be tempted to adopt such a sweeping rule is that the Government has
declined to produce evidence and prove its case against these particular Defendants, with respect
to property that was far removed from the niilitai*y's important assets.
        Defendants also object to the last sentence in the R&R, at 61 n. 40, as clear error: "Given
the evidence of record attesting to the importance of the property at stake in this case, I find that
the Government has shown its interest in this regard is a compelling one, generally and as applied."
But the "property at stake in this case" consisted of locks, fence, lettering, etc., far removed from
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But the Government's own evidence in the record demonstrates that, in the context of the

defendants' actions at Kings Bay,"no military ... 'assets' were in danger" (statement of Scott

Bassett to The Washington Post, reported on April 5,2018, and reaffirmed by Scott Bassett at the

evidentiary hearing. Doc. 313 at 190,191-192; also at 179). Scott Bassett testified that a fence was

cut on the base, that concertina wire was cut, that a padlock was cut, and that the static missile

display(a monument or statue)suffered some defacement-all of which required some repair. Doc

313 at 197-198. Thus, the Government acknowledges that the defendants' religious exercises on

April 4-5 posed no harm to important military property. Yet the R&R proposes to bootstrap the

presence ofimportant military assets somewhere on the 17,000-acre base into a compelling interest

to protect all padlocks and fences everywhere on the base. In fact, there is a complete lack of

evidence that any other military property, weapons or assets were even attempted to be accessed

as part ofthe religious exercise. RFRA requires that the Government provide a specific explanation

for how "compelling" it is to criminally prosecute any ofthese religious Defendants for the specific

property damaged in their particular religious exercise.

       The other proposition that the R&R incorrectly provides to satisfy the heavy burden of

establishing the Government's "marginal interest in enforcing" the property statutes is that

^''Defendants have demonstrated their willingness and ability to enter restricted government

property and to deface property located in those areas." R&R at 61 (emphasis added). Presumably,

this simply means that the Defendants have admitted entering the base and conducting their

religious exercise. But this proposed proposition is overbroad, if this is the basis for conceding to

the Government a "compelling interest." If demonstrated "willingness and ability" to act contrary


the military's important assets. The value of such property cannot reasonably warrant a "no
religious exceptions" policy under RFRA.
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to a statute is sufficient for the Government to claim a "no religious exceptions" policy under

RFRA, then any actor with sincere religious beliefs has forfeited the RFRA requirement of

"compelling interest." At a minimum,such a startling claim wan-ants more scrutiny than is paid to

it in the R&R.


       In sum,although the R&R acknowledges that RFRA requires the Court to carry its analysis

beyond a mere assertion of general interests, the R&R provides no such analysis. As a result, the

R&R's proposed finding that the Government's interests are compelling under RFRA is

unsupported by the evidence and it is contrary to law. Because the Government has not created an

evidentiary record sufficient for the Court to rule in the Government's favor on this issue,the Court

must dismiss the charges against the Defendants.

       C.        Defendants' Objections to R&R Section lI.E: "Least Restrictive Means"

       Even if the Court finds that the Government has some marginal compelling interest, the

R&R acknowledges that the Defendants have in fact proposed a long list of alternative means for

achieving any compelling interest that the Government might have.^^ R&R at 62-63. The

Government has the burden of producing evidence and demonstrating that, with respect to

achieving each compelling interest, and as against each Defendant individually, criminal

prosecution of these four charges is less restrictive of the Defendant's recognized exercise of



           These proffered alternative means(in place ofcriminal prosecution for trespass, property
damage and conspiracy) are: (1)"ban-and-bar" letters ("debarment" letters) issued by the base
commander, pre-trial diversion agreements entered into by federal prosecutors, or civil injunctions
against trespass;(2)civil damages or community service to compensate for property damage;(3)
providing an accommodation that would allow sacramental symbolic disarmament within the
perimeter fence at Kings Bay; or(4)reducing the number or severity of the criminal charges. See
citations in R&R at 62-63; e.g.. Doc. 337 at 13 (Defendant Elizabeth McAlister's January 2019
Supplemental Evidentiary Brief on RFRA); e.g.. Doc. 245 at 34-35 (Defendant Elizabeth
McAlister's September 2018 Supplemental Brief on RFRA).
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religion than any of the proposed alternatives would be. The Government has not presented any

such particularized evidence in relation to even a single Defendant, and the R&R fails to make the

particularized assessment ofalternative means that RFRA requires. Instead, the R&R shockingly

concludes that the Government has demonstrated that the least restrictive means of responding to

the sincere faith beliefs and actions of these Defendants is for the Court to approve the

Government's decision to bring three felony charges which could result in imprisonment for up to

20 years. That conclusion alone eviscerates any real respect for or consideration of RFRA.

       The Supreme Court has said that "[t]he least-restrictive-means standard is exceptionally

demanding." Hobbv Lobbv.573 U.S. at 728,134 S.Ct. at 2780. To satisfy RFRA,the Government

must show "that it lacks other means of achieving its desired goal without imposing a substantial

burden on the exercise of religion." Hobbv Lobbv, 573 U.S. at 728,134 S.Ct. at 2780;see Eternal

Word,818 F.3d at 1158("When a less restrictive alternative serves the government's compelling

interest 'equally well,' the government must use that alternative."). If the Government cannot do

so, then it must fashion some accommodation or exception for these Defendants, and not treat the

Defendants as it would treat a terrorist intruder or a common vandal.


        What the Government cannot do, under the strict-scrutiny test of RFRA and as a matter of

law, is insist flatly on making "no exceptions." O Centro. 546 U.S. at 435-36, 126 S.Ct. at 1223.

The Supreme Court has held any such blanket insistence inadequate, calling such argument an

appeal to "slippery-slope concerns." Id."The Government's argument echoes the classic rejoinder

of bureaucrats throughout history: If I make an exception for you, I'll have to make one for



          It is a serious error in the R&R that, after discussing in detail the religious beliefs and
testimonies of each individual Defendant (R&R at 14-39), the R&R then fails to conduct a
correspondingly particularized analysis of least restrictive means, as required by law.
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everybody, so no exceptions. But RFRA operates by mandating consideration, under the

compelling interest test, of exceptions to 'rule[s] of general applicability.'" Id (quoting 42 U.S.C.

§ 2000bb-l(a)). As the Supreme Court added in Holt:"We have rejected a similar argument in

analogous contexts,... and we reject it again today." Holt. 135 S.Ct. at 866.

       Defendants object, as clear errors of fact and incorrect applications of law, to the R&R's

ultimate conclusions on the issue of least restrictive means(R&R at 64-65), which are:

       Here. I find the Government has shown "it lacks other means of achieving its
       desired goal without imposing a substantial burden on the exercise of religion by
       the objecting party.

       There is no "proffered alternative scheme" which would "be less restrictive while
       still satisfactorily advancing the compelling government interests."^'

       Thus, I find that the Government has shown that the trespass and property laws,and
       prosecution thereunder, is the least restrictive means of furthering its compelling
       interests.'^

       Moreover, even assuming Defendants could meet their prima facie case, the
       Government has shown that ... it lacks any less restrictive means of meeting its
       goals.

In reaching these erroneous conclusions, the R&R makes subsidiary errors to which the

Defendants object, and which the Defendants discuss in context in this section. The Defendants'

explanation for their objections has two main parts: it first explains the inadequacy of the

Government's produced evidence,and then it explains its objections to the mistaken attempt in the

R&R to reach its conclusions on this inadequate evidentiary record.




          R&R at 64.



          R&R at 65.

       33 Id.
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       With regard to proving least restrictive means,the only evidence even remotely on point is

Captain Lepine's general and unsupported speculation that "prosecution is the least restrictive

means of securing the compelling interest of protecting the property, assets, personnel on Kings

Bay submarine naval base." Doc. 316 at 286-287. In reaching this conclusion. Captain Lepine

considered the religious motivations of the Defendants to be an irrelevant factor. See Doc. 316 at

257-258 (discussing the charge of conspiracy). Because the issue of whether one means is less

effective than another necessarily involves considering the religious beliefs ofthe Defendants, the

Court should assign no probative value to Captain Lepine's generalization.

       Moreover, Captain Lepine's speculation on the ineffectiveness of ban-and-bar letters

(debarment letters) is inconsistent with his experience. He has personally signed about 20 such

letters, and "that act has been successful at preventing [the] return of individuals" to the base -

indeed, none of those individuals has re-entered the base and needed to be prosecuted. Doc. 316

at 248-249, 265-266. Left unexplained is why such debarment letters, which are within the base

commander's discretion and authority, and which have been so effective in Captain Lepine's

experience, would not be equally effective at achieving the Government's interests against these

religious Defendants.     The Court cannot allow the Government to ignore its RFRA

responsibilities so flagrantly. Had the Government conducted a particularized assessment of less




          With respect to civil injunctions or community service. Captain Lepine's testimony is
unsupported by his experience, because he has never tried to impose civil injunction or community
service as a base commander at Kings Bay. Doc. 316 at 248.
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restrictive means as RFRA requires, it would have found, for example, that at least some

Defendants would indeed comply with ban-and-bar letters.

        Captain Lepine's testimony is also speculative with respect to what means may or may not

be effective with respect to these Defendants considered individually. At the evidentiary hearing,

this Court ruled that Captain Lepine "is unable to testify or offer any speculation about what would

or would not have deterred these defendants" in the past. Doc. 316 at 235; also 231-232(Nov. 7

hearing transcript). In order to give a non-speculative opinion about any specific Defendant,

Captain Lepine would have had to undertake an analysis based on "knowledge about each

individual defendant." See Doc. 316 at 237(Nov. 7 hearing transcript). There is no evidence that

Captain Lepine has undertaken such a defendant-specific analysis. Indeed,the evidence shows that

Captain Lepine has not even ''considered [any] less restrictive means short of prosecuting" these

Defendants. Doc. 316 at 229(emphasis added).

       The most that Captain Lepine could offer at the hearing were generalizations about

hypothetical categories of individuals(e.g., about individuals with prior records offormal charges

or convictions for trespass), but such hypothetical opinions are insufficient to satisfy RPRA's

"exceptionally demanding" least-restrictive-means standard (using the wording of Hobbv Lobbv.

573 U.S. at 728, 134 S.Ct. at 2780). As the Government has acknowledged, in responding to each

of the Defendants' proposed alternative means, the Government must assess "the probability of

those alternatives in achieving ... those compelling interests." Doc. 316 at 236 (Nov. 7 hearing

transcript). That assessment surely requires taking into account the specific beliefs, motivations,



           E.g., Doc. 313 at 56, 58, 60-61 (Defendant Martha Hennessy explaining why her
tradition and belief would lead her to comply with a ban-and-bar letter or a court order); id. at 168-
169(Defendant Patrick O'Neill testifying that he would comply with a ban-and-bar letter).
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intentions and circumstances of each individual Defendant. Otherwise, RFRA's "exceptionally

demanding" standard would be routinely defeated by generalized hypotheticals.

       It is an inescapable conclusion from the evidence, as a matter oflaw, that the Government

has failed to investigate alternative means of furthering its compelling interests, and that it has

failed to demonstrate to the Court, on the basis of evidence, that it has complied with its

responsibilities under RFRA. Nevertheless, the R&R attempts to paper over the glaring holes in

the evidentiary record with a few inadequate and erroneous statements.

       In its first line of reasoning, the R&R reaches the erroneous conclusion that "Defendants'

proposed alternatives are not actually less restrictive means because they do not 'actually

accommodate the religious view.'" R&R at 64 (citing Hobby Lobbv. 573 U.S. at 731 n. 40, which

states "[t]he less restrictive approach we describe accommodates the religious beliefs asserted in

these cases"). It supports this conclusion with erroneous reasoning that all of the Defendants'

proffered alternative means(except for the accommodation that would allow sacramental symbolic

disarmament within the perimeter fence at Kings Bay) would be "equally restrictive" of each

Defendant's religious practices. This, however, is a clear error, given the evidence in the record.

The R&R reaches the correct conclusions that Defendants' religious actions are acts of"symbolic

disarmament," that they sincerely believe in conducting both "sacramental" and "prophetic"forms

ofsuch actions, and that those actions are aimed to reflect "the rejection of violence" espoused by

the Defendants. R&R at 46-47. Therefore, the documented religious exercise of these Defendants

includes nonviolent symbolic disarmament, which is both a prophetic witness and potentially

(when conducted at appropriate locations) a sacramental act. This religious exercise can be a

prophetic witness when conducted at various locations, on or off military bases, but in order to be

sacramental it should occur as close as possible to what the Defendants believe is the scene ofthe
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sin ofTrident. Under the alternative means of ban-and-bar letters, pre-trial diversion agreements,

or civil injunctions. Defendants would still be free to practice symbolic disarmament at numerous

locations outside of military bases, even if such prophetic actions might not be sacramental.

       Each Defendant has testified about how imprisonment would severely restrict her or his

future ability to engage not only in sacramental symbolic disarmament inside the perimeter fence

of the Kings Bay naval base, but also in other prophetic acts of symbolic disarmament outside the

perimeter fence, as well as in other religious practices that they routinely perform. IfDefendants

are imprisoned pursuant to these criminal charges, they would be restricted to conducting their

prophetic witness of disarmament to within prison walls and cells, far removed from the audiences

that their prophetic message needs to reach, and far removed from the religious communities fi*om

which each Defendant draws vital religious support. A ban-and-bar letter, or a pre-trial diversion

agreement, or a civil injunction would certainly be less restrictive on a Defendant's religious

practice than imprisonment, because the Defendant could still conduct prophetic symbolic

disarmament(and other religious practices) elsewhere than the prohibited locations. Moreover, a

shorter prison term (due, for example, to dismissing one or all ofthe felony charges) is not merely

"less punitive," as the R&R asserts, but also less restrictive on religious practice, because the

Defendant is obviously able to engage in her or his religious practices at an earlier stage of life. It



          For supporting evidence, see footnote 9 above and accompanying text.
           See, e.g.. Doc. 316 at 146-147(Defendant Father Kelly, describing also the burden on
his preaching "even in a somewhat conventional manner"); Doc. 316 at 190 (Defendant Clare
Grady); Doc. 313 at 44-45 (Defendant Martha Hennessy); Doc. 313 at 83-85 (Defendant Mark
Colville, describing also the restrictions on participating in Catholic Mass and the burden on his
pastoral ministry); Doc. 313 at 113-115(Defendant Carmen Trotta, describing also the restrictions
on his life at the Catholic Worker); Doc. 313 at 140(Defendant Elizabeth McAlister); Doc. 313 at
148, 158-159 (Defendant Patrick O'Neill, describing also restrictions on his work as a hospital
chaplain).
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is clearly erroneous for the R&R to propose otherwise.              Aside from the actual criminal

prosecution itself prohibiting the exercise of future nonviolent symbolic disarmament, the

testimony of Captain Lepine that no religious exercise is allowed at the site necessary to constitute

nonviolent symbolic disarmament, the effect ofthe application ofthe trespass and vandalism laws

in general further operate to stifle future religious expression of this type.

       The fact is that the Government ignored its duty to determine whether ban-and-bar letters

would be equally effective at achieving its legitimate interests. If the Government had conducted

a particularized assessment of less restrictive means as RFRA requires, it would have found that

at least some Defendants would indeed comply with ban-and-bar letters.

        As a second line of reasoning, the R&R incorrectly concludes, without rationale, that

"parsing the specific charges brought against Defendants, rather than just the choice to prosecute,"

plunges the Court "far too deep into the business of reviewing" prosecutorial discretion. R&R at

64(citing Christie. 825 F.3d at 1062). The R&R proposes that whenever the Government chooses

to bring any criminal charges against a defendant who has exercised her or his religious beliefs,

then that governmental decision eliminates all judicial power to question the specifics of the

Government's action. However,the R&R does not explain why,if prosecuting a particular charge




          Defendants therefore object to these erroneous statements in the R&R,at 64:
       First, the majority of Defendants' suggested alternatives (such as forgoing
       prosecution, pre-trial diversion, or imposing only civil injunctions, fines, or ban
       and bar letters) reflect less pimilive-h\x{ equally res/ridive-govQmment
       accommodations. ... Defendants would still be prohibited from engaging in
       symbolic disarmament under these proposed alternatives. The difference is only
       that the penalties for such engagement would be less severe.
       ^^E.g., Doc.313 at 56,58,60-61 (Defendant Martha Hennessy explaining why her tradition
and belief would lead her to comply with a ban-and-bar letter or a court order); id at 168-169
(Defendant Patrick O'Neill testifying that he would comply with a ban-and-bar letter).
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against a particular Defendant does not satisfy the requirements of RPRA,it is not the duty ofthe

Court to dismiss that charge as being unlawfully prosecuted. As the Supreme Court has held,

"RFRA makes clear that it is the obligation of the courts to consider whether exceptions are

required under the test set forth by Congress." O Centro. 546 U.S. at 434(emphasis added). Nor

would the legal rule proposed in the R&R be a sensible policy under RFRA. If the R&R's broad

proposal is accepted, then the governmental action of bringing multiple criminal charges against

an exercise of religion would automatically satisfy strict scrutiny, provided any one of those

charges survives strict scrutiny.

       As its final line of reasoning, the R&R devotes a paragraph(R&R at 65) to the proposed

alternative accommodation of permitting the Defendants to conduct a sacramental symbolic

disarmament at the static missile display, inside the perimeter fence, with due safeguards for all of

the Government's three general interests (authorizing access to the base, protection of personal

safety, and protecting governmental property). Such an alternative is eminently an accommodation

within the Government's power to authorize, especially since it is the very location where the

Government allows tourists to visit, and where some Defendants carried out their sacramental

symbolic disarmament. Had the Government conducted a particularized assessment of less

restrictive means as RFRA requires, it would have found, for example, that at least some

Defendants would indeed consider taking advantage ofsuch an accommodation.'*®


                Doc. 313 at 95-96 (Defendant Mark Colville testifying that "if the military base
were to provide a specific time or area on the base near the site of the sin," then "absolutely" the
Defendants "could have performed the liturgy as a sacrament," and that he thought that doing so
would satisfy his deeply held religious beliefs); Doc. 313 at 59 (Defendant Martha Hennessy
testifying that "if there was an area of the base set aside by the command to demonstrate and
engage in [her] symbolic acts," she could avail herself of that, consistent with her conscience);
Doc.313 at 168(Defendant Patrick O'Neill expressing serious interest in taking advantage ofsuch
an accommodation, depending on the details).
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       The R&R purports to explain its reasoning with the following puzzling sentence, to which

the Defendants object: "Defendants cannot plausibly suggest that a permitted protest is a less

restrictive means of protecting the Government's compelling interests when Defendants made no

effort to determine whether the less restrictive means they now propose was available to them

before they broke into the base." R&R at 65. It is difficult to understand how the conclusion of

this quoted sentence (the first clause) follows logically from the asserted condition (in the clause

introduced by "when"). As Defendants argued above on the issue of "substantial burden," the

evidence from both sides demonstrates that seeking permission in this particular case would have

been futile."*' Moreover, it cannot be sound policy under RFRA that, if a religious actor does not

seek governmental permission for their religious action in advance, then that actor somehow

forfeits the RFRA protection that criminal prosecution must be the government's least restrictive

means. A defendant's guaranteed RFRA rights cannot be so easily waived. The appropriate test

under RFRA is the one that is firmly established by case law: the government mustproduce ev.ence

and prove that the proffered alternative of a permitted symbolic disarmament at the static missile

display is equally or more restrictive of the Defendants' religious practices than criminal

prosecution is, if that accommodation is equally effective at achieving the compelling

governmental interests. The R&R's application of the RFRA case law to the evidence in this case

is clear error and contrary to law.

       Fourth, notably absent altogether from the R&R is any explanation for why compensatory

damages at civil law would not achieve the Government's interest in restoring its damaged

property, or why such civil damages would be an equally or more restrictive means than




          See footnotes 10-12 and accompanying text, supra.
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imprisonment. The Government produced no evidence for drawing such a conclusion, and the

R&R proposes (erroneously) that the Court simply ignore its duty to hold the Government to its

responsibilities under RFRA.

        D.      Conclusion under RFRA


        The R&R makes clear errors of fact with respect to some parts of the evidentiary record,

and it makes numerous errors of law in applying RFRA to this case. Having found that the

Defendants' actions at Kings Bay were undoubtedly motivated by sincerely-held, religious beliefs,

the R&R should have concluded that criminal prosecution and imprisonment constitute a

substantial burden on those practices. The burden ofjustification then shifts to the Government.

However, the record shows that the Govemment has failed to produce evidence and demonstrate

that its general interests are, in the specific circumstances ofthis case, so compelling as to warrant

making no exceptions for the religious exercise of any of these Defendants. Moreover, the

Govemment has failed to produce evidence and to prove that none of the proffered altemative

means would achieve any of the Government's compelling interests, or that any equally effective

altemative would do so in a way that is equally or more restrictive on the individual Defendant's

religious practices. This failure on the part of the Govemment is particularly egregious because

well over a year has passed since the Defendants' actions occurred,and well over a year has passed

since the Govemment possessed uncontroverted evidence of the Defendants' religious

motivations. It is therefore the duty ofthe Court to finally put an end to this governmental violation

ofthe Defendants' RFRA rights, and to dismiss these criminal charges.

II.          Defendants' Objections to the R&R on Selective Prosecution

        In its R&R,the USMJ suggests that this Court should deny "Defendants' Motion to

Dismiss based on selective prosecution." R&R at 68. Underlying this recommendation is the
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USMJ's interpretation of several decisions from this Circuit as well as elsewhere, which address

the subject of this portion of the Motion. In so doing, the USMJ,respectfully, has misinterpreted

the underlying premise of the present Motion and has misinterpreted the law regarding questions

of selective prosecution, thus requiring the present objection to same.

        Questions ofselective prosecution look to the way different entities, sufficiently

connected in some common way, are treated by the prosecutorial forces of government. In this

case, the two entities at issue - the Defendants and the president ofthe United States - each

address the question of nuclear weapons from a particular religious perspective. The religious

motivation ofthe Defendants is well known and well understood by the USMJ. See R&R at 7,

Doc 411 ("All seven Defendants are part ofthe Plowshares Movement, a Christian activist group

opposed to nuclear weaponry which began around 1980. ... [Their] actions on April 2018 are a

continuation ofthe Plowshares practice of'symbolic disarmament' and are similar to other

actions taken by different groups of Plowshares activists since the movement's inception.") In

fact, the Defendants' deeply held religious beliefs are essential to their very being and form the

essence of their actions at issue presently.

       The president ofthe United States and those who operate within his command,likewise

approach the issue of nuclear weaponry, as well as the general use of utterly destructive force,

with an equally deep, albeit chilling, religious perspective. See, e.g., The Hill, August 8, 2017,

https://thehill.com/blogs/blog-briefmg-room/news/345940-trump-religious-adviser-god-has-

given-trump-authority-to-take("One of President Trump's top religious advisors says the

president has God's blessing to take action against North Korea. 'When it comes to how we

should deal with evildoers, the Bible, in the book of Romans,is very clear: God has endowed

rulers full power to use whatever means necessary — including war — to stop evil,'
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[Robert] Jeffress,[an evangelical pastor] said in a statement. ... 'In the case of North Korea,

God has given Trump authority to take out Kim Jong Un."')(emphasis added).

         Indeed, in threatening to destroy North Korea(prior to his later warm embrace of

Chairman Kim,and prior to the current reversal of that warmth and the rising tensions with

North Korea,(at least as of May 28,2019)), President Trump warned that "North Korea best not

make any more threats to the United States. ... They will be met withfire andfury like the

world has never seen. ... [Chairman Kim] has been very threatening beyond a normal state, and

as I said, they will be met with fire and fury, and frankly power the likes of which this world has

never seen before."(emphasis added)."*^

        In their initial briefing to the USMJ on this issue. Defendants cite this example ofthe

current president's reckless views of nuclear and other destructive weaponry and his giddy

willingness to use that force. This example, however, is particularly relevant to the present issue.

Along with his religious advisor giving him a theological green light to use "whatever means

necessary," The Hill, supra, the expression of the "fire and fury" rant toward North Korea is

utterly infused with religiosity, well beyond its apocalyptic cadence:

         For behold, the Lord will come in fire
         And His chariots like the whirlwind.
         To render His anger with fury,
         And His rebuke with flames of fire.

Isaiah 66:15, New American Standard Bible.

         As the USMJ made clear, R&R at 6, Doc 411, the Defendants draw their motivation from

a deep well of spiritual understanding, and specifically, the command of Isaiah that "[t]hey will


           Peter Baker and Choe Sang-Hun,"Trump Threatens Tire and Fury' Against North Korea if It Endangers
U.S.," August 8, 2017, the New York Times, https://www.nytimes.eom/2017/08/08/world/asia/north-korea-un-
sanctions-nuclear-missile-united-nations.html?module=inline (last visited May 28, 2019).
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beat their swords into plowshares and their spears into pruning hooks. Nation will not take up

sword against nation, nor will they train for war anymore." Isaiah 2:4, New International

Version-, R&R n.4. Doc 411. How ironic, then, that these two entities, the Defendants, and their

"comparator," the president of the United States, approach nuclear weaponry from the same

biblical starting point- the Prophet Isaiah. There are, of course, glaring differences in approach,

the Defendants being armed with accurate biblical exegesis and an inalienable dedication to

nonviolence, while Mr. Trump's(and his advisor's) blasts of rhetoric stem from utter theological

ignorance"^^ and full-throated embrace of all things destructive.

        Regardless of these perspectives and biblical interpretations, what is essential to the

present consideration is the recognition of what this case represents: that entities who approach

the issue of nuclear weaponry from differing religious positions are treated unequally (and

discriminatorily) by the Government of the United States, with these Defendants facing

prosecution at the most serious level while the president of the United States remains legally

unaccountable. Throughout these proceedings, the Defendants have outlined clear and numerous

acts of criminality by Mr. Trump regarding, but not limited to, laws of war, violations oftreaty,

and violations of military handbooks(as well as the obvious crimes against humanity which the

president's conduct and statements reveal). Despite these allegations, no criminal charges have

ever been filed nor even (presumably)contemplated against the president and his conspirators.

Instead, the present Defendants are the ones who must answer an Indictment while the president

is unencumbered. With the conduct and motivation of both the Defendants and the president




          The Isaiahic command which guides the Defendants calls upon the people to turn away from war and
warmaking. The "fire and fury" provision which fuels the president's unfortunate rumbles is a reference to the power
of God {not some human leader) to address the ways of the world.
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rooted in biblical narrative, but with only one entity facing criminal charges while the other is

untouched, the essence of selective prosecution is meinifest. In failing to examine the religious

basis underlying this discriminatory treatment, the R&R on this point is fundamentally flawed

and cannot be adopted by this Court.

       Defendants understand the "deference" courts generally extend to prosecutors and their

charging decisions. R&R at 66. Defendants also understand that this decision,"whether to

prosecute may not be based on an unjustifiable standard such as race, religion, or other arbitrary

classification." U.S. v. Jordan. 635 F.3dll81, 1188(11th Cir. 2011), citing U.S. v. Smith. 231

F.3d 800,807(11th Cir. 2000)(quotations omitted)(emphasis added); see also, U.S. v.

Armstrong. 517 U.S. 456,464-65, 116 S. Ct. 1480, 1486, 134 L. Ed. 2d 687(1996)("Of course,

a prosecutor's discretion is subject to constitutional constraints. One of these constraints,

imposed by the equal protection component of the Due Process Clause of the Fifth Amendment

is that the decision whether to prosecute may not be based on an unjustifiable standard such as

race, religion, or other arbitrary classification.")(citations omitted)(emphasis added).

       In recommending denial of Defendant's motion, the USMJ relies heavily on U.S. v

Jordan.635 F.3d 1181(11"' Cir. 2011)and U.S. v. Smith. 213 F.3d 800(11"" Cir. 2000)and their

analysis of the selective prosecution question. Notably, each of these cases addresses this

question vis a vis a challenge based on racial discrimination, not claims of religious

discrimination. As such, while these decisions may form the underlying superstructure for

selective enforcement consideration, they do not go far enough in outlining what a court must

consider when faced with these challenges. "[I]n determining whether persons are similarly

situated for equal protection purposes, a court must examine all relevant factors." U.S. v. Qlvis.

97 F.3d 739, 744(4^ Cir. 1996).
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       Our analysis ofthese factors is not to be conducted in a mechanistic fashion, however,
       because making decisions based on the myriad ofpotentially relevantfactors and their
       permutations require the very professional judgment that is conferred upon and expected
       from prosecutors in discharging their responsibilities. As such, we have rejected a
       narrow approach to relevantfactors to be considered when deciding whether persons are
       similarly situated for prosecutorial decisions.

U.S. V. Venable,666 F.3d 893,901 (4th Cir. 2012), as amended (Feb. 15, 2012)(emphasis
added).

       The present case is replete with a "myriad of potentially relevant factors and their

permutations," id., necessary to assess the religiously based discrimination these Defendants are

suffering in what can accurately be described as selective prosecution. The USMJ made no

assessment of the religiously based discrimination at hand, but instead only engaged in "a narrow

approach," id., to the very limited set offactors it considered.

       It is not as if the USMJ was unaware ofthe role religion plays in why this case exists and

why these Defendants are before the Court. Along with the above-cited reference to the

"Plowshares Movement" and its history, the USMJ engaged in lengthy, albeit as to some

conclusions objectionable, assessment of the role of RFRA in this case. That effort however did

not translate into the USMJ's duty to apply a careful review of how religion has played a role in

the discriminatory prosecution at hand. As the Olvis and Venable courts suggest, and as the

underlying and undisputed facts of this case demand,the question of religiously based selective

prosecution cannot be whisked away with reference to the stale, stunted and inapplicable

approach outlined in Jordan and Smith.

       It is respectfully submitted that the R&R's rejection ofthe Defendants selective

prosecution argument is substantially flawed and cannot be adopted. Instead, this Court is

compelled to recognize the equal protection violation at hand, grant Defendants' motion and

dismiss the Indictment pursuant to a finding of selective prosecution.
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III.   Defendants' Objections to the R&R on Duplicity/Multiplicity

       The Defendants respectfully object to the R&R's suggestion that their motion to dismiss

based on theories of duplicity and multiplicity be denied. As the USMJ has misapplied the law

with respect to each of these theories, the R&R is in error.

       "Duplicity is the joining in a single count oftwo or more distinct and separate offenses;

multiplicity is the charging of a single offense in several counts. See 1 C. Wright, Federal

Practice and Procedure, § 142 at 469(1982)." Department of Justice, Criminal Resource Manual

at 919(2018)(hereinafter "CRM"). In this case. Defendants have focused their duplicity

argument(as is usual in these kinds of cases) on the objectionable conspiracy charge, while their

multiplicity claim addresses the improper charging on both 18 U.S.C. § 1361 and 18 U.S.C. §

1363. As the R&R addresses the issues sequentially, these objections will do so likewise.

       In understanding Defendants' argument, it is important to explore the full extent ofthe

duplicity principle and its ramifications in cases such as this. These ramifications are crucial and

must be of primary concern if Defendants are to receive a fair trial and be secure in the

protection oftheir constitutionally protected liberties. As a sister court has recognized:

       [t]he prohibition against duplicitous indictments addresses different concerns, including
       interference with a unanimousjuror agreement since the presence of multiple offenses in
       the same count may give rise to a situation in which a defendant may be convicted
       without unanimousjuror agreement as to any ofthe offenses charged in the count in
       question and produce confusion as to the basis of the verdict which may subject a
       defendant to double jeopardy. These concerns have been repeatedly recognized by the
       courts which have referred to the issue of duplicity as allowing ajury to find a defendant
       guilty on the count without having reached a unanimous verdict on the commission of
       any particular offense. U.S. v. Saleh. 875 F.2d 535, 537(6th Cir.1989); 24 Moore's
       Federal Practice 3rd. ed. § 608.04[1], p. 608-17.

U.S. V. Munoz-Franco. 986 F. Supp. 70, 71 (D.P.R. 1997).

       While the R&R speaks in terms ofa general understanding of the themes surrounding a
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duplicity claim, it seems to lack full analysis of those themes in relation to this case. Primary to

the R&R's conclusion recommending denial of the duplicity portion of Defendants' motion is its

reliance on the decision in Braverman v. U.S.. 317 U.S. 49(1942). In Braverman,the Supreme

Court noted that in and of itself, a conspiracy charge is one charge, separate and apart from the

underlying offense in chief which the conspirators agreed to commit. That indeed is the essence

of an inchoate crime. The problem with the R&R,however, is that it rests on these generalities

without a fuller application of duplicity concerns vis-a-vis these Defendants.

       As the Munoz-Franco court held,"[t]he determination whether an indictment is

duplicitous must be based on the allegations of the indictment itself." Munoz-Franco. supra. In

that case, while the underlying offenses noted in the conspiracy charge seemingly applied to all

charged defendants, the indictment's "description of the overt acts is neatly divided between two

distinct sets of co-conspirators." Id- As this may have resulted in a defendant's "convict[ion]

without unanimous juror agreement as to any of the offenses charged," id., the Munoz-Franco

court dismissed the offending count.

       The present circumstance is similar, requiring a like result. Defendants £ire quite clear

about the conduct in which they engaged as well as its underlying motivations. For purposes of

analyzing their duplicity argument, however, that is not the point. What matters here is that the

charging document to which they must answer must also be pristine and not structured in a way

that is constitutionally infirm. In outlining the overt acts which support the conspiracy charge,

the Indictment differentiates what actual conduct each defendant engaged in, noting that not all

seven did the same thing. There is no explanation in the Indictment as to why this was the case

or any explanation at all as to the reason for the Defendants' actions. As such, with the

conspiracy count lumping all offenses together, the jury is left with a smorgasbord of underlying
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crimes with which to sample. Some jurors may believe some, but not all, of the Defendants

conspired to violate 18 U.S.C. § 1361, while others may believe they violated § 1363. If all

jurors believe all Defendants conspired to commit one or the other(and not necessarily the same)

sections, the Defendants may be convicted on a less than unanimous finding. That is something

the Constitution cannot condone.


       The R&R conducts no analysis of this scenario anywhere similar to that of the Munoz-

Franco court. This, it was required to do. Without it, the R&R is fatally flawed on this issue.

More importantly, as Munoz-Franco and the cases similar demand,the present motion must be

granted as to dismissal of duplicitous counts.

       As for the multiplicity portion of the Defendants' motion, the R&R is likewise wrong.

Of particular concern is the Magistrate Judge's apparent misread of U.S. v. Hassoun. 476 F.3d

1181 (11th Cir. 2007). The R&R rightly points to the valid, yet aged, decision in Blockburger v.

U.S.. 284 U.S. 299, 52 S. Ct. 180, 76 L. Ed. 306(1932). Indeed, Blockburger provides the

mechanism by which a court is to determine whether the government's charging apparatus

violates the Fifth Amendment's double jeopardy protections. Citing Blockburger. the CRM

notes that "[t]he issue presented [when discussing a question of multiplicity] is the proper unit of

prosecution. The tests commonly used are:(1)identical proof and (2)legislative intent." CRM,

supra. Regarding the issue of"legislative intent," the R&R recognizes that, in this case:

       [t]he parties have not addressed in the briefs whether Congress intended to authorize
       cumulative punishments when enacting § 371,§ 1363, or § 1361. Outside of the fact that
       Congress created three distinct statutory offenses and enumerated them in different Code
       sections, the legislative history of the statutes do not contain any obvious indicators as to
       Congressional intent about cumulative punishments. In the absence of either argument or
       clear intent, the Court will proceed to the next step - applying the Blockburger test.

R&R at 72.
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       In applying this "test," the USMJ relies heavily on Hassoun. and concludes that the

"proof required under § 1361 is not necessarily the same as the proof required under

§ 1363" thus finding that these two charges "are not multiplicitous." R&R at 75. What the R&R

misses, however, is Hassoun's recognition of Blockburger's demand that Congressional intent is

paramount:"As Blockburuer counsels, the rub is whether Congress intended that one act be

twice subject to punishment." Hassoun, 476 F.3d at 1188. With its earlier finding that

Congressional intent in the present context was indiscernible, the USMJ's failure to note this

essential portion of Hassoun renders the R&R immeasurably flawed.

        More to the point, the USMJ's review of§ 1363 and § 1361 fails critically in not

recognizing that the elements of one general charge(§ 1363) are necessarily subsumed in the

other(§ 1361). The USMJ strains the R&R's analysis of these provisions when it glosses over

this reality. At their core, each provision addresses property damage on U.S. facilities. In a

footnote, however, the R&R makes a glancing reference to what it discerns as an apparently

critical difference between these two provisions: "While some authority suggests the

Government must exercise a degree of possession or control over the destroyed property for a

conviction under § 1363, it is not required that the Government own the properly as is required

under § 1361." R&R at 74 (citation omitted).

        In reaching this conclusion, the USMJ relies on the decision in U.S. v. Abu Khatallah.

316 F. Supp. 3d 207(D.D.C. 2018), a case which dealt with a conviction arising from the attack

on the U.S."diplomatic compound in Benghazi, Libya." While the primary issue in that case

dealt with a different statute than those in play here, it did address § 1363 as it related to that

other offense, determining that "at a minimum,to be convicted under § 1363 a defendant must
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have intentionally injuredfederal property, or have attempted or conspired to do so." U.S. v.

Abu Khatallah, 316 F. Supp. 3d 207,213(D.D.C. 2018)(emphasis added).

        The R&R's accuracy is dependent on it being correct that § 1363 requires "Government

own[ership of] the [damaged] property," something which the statute does not define with any

specificity, nor does Abu Khatallah support the R&R's premise. Instead, what Abu Khatallah

does suggest is that the Government interest be possessory in nature, which is, without definition

within the statute to the contrary, a species ofownership.

        As the R&R fails on this critical point, its recommendation cannot be followed. These

Defendants have been charged in a multiplicitous and constitutionally improper way,subjecting

them to the dangers of double jeopardy if the Court allows these charges to proceed. For these

reasons, the R&R must be rejected on this point.

    IV.     Defendants' Objections to the R&R on Failure to State an Offense

        The Defendants argue that the Indictment fails to state an offense against them since

nuclear weapons, the object of their symbolic action, are unlawful under both international and

domestic law. As the R&R urges denial of Defendants' motion, it is in error. Incorporating their

prior submission herein, see Motion, as well as Memorandum to Dismiss, Doc. 88,the present

objection also focuses more exactly on several portions of the R&R which are critically relevant

to this position.

        To illustrate, in assessing the "international law" aspect of Defendants' argument, the

R&R consumes nearly two full pages with nothing but citation to prior decisions from various

courts over the "last 30 years[]of the Plowshares Movement," R&R at 76, offering no analysis

of these decisions except sparse squibs which do little to assess the importance of the underlying

actions. Instead, since these decisions were consistently contrary to the position advanced by the
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present Defendants, the R&R holds them up as a consistent standard to be applied in summarily

denying the instant motion.

        What the R&R fails to do is offer even the slightest hint that the judicial experience with

the Plowshares Movement and other anti-nuclear protests was not so universally opposed as the

R&R suggests.

       For example, in 1984, a number of protesters were arrested at a U.S. Naval Base in

Illinois to protest Government involvement in Central America, as well as its nuclear arms

policy. Frank Lawrence, The Nuremberg Principles: A Defensefor Political Protesters^ 40

Hastings L.J. 396,433(1989)

https://repository.uchastings.edu/cgi/viewcontent.cgi?article=2965&context=hastings_lawJoum

al (last visited May 14, 2019)(citations omitted); Illinois v. Jarka. No.002170(Cir. Ct., 111., Apr.

15, 1985), reprinted in 42 GUILDPRAC. 108-10(1985). The defendants "entered a defense of

necessity based in part on the Nuremberg Principles [which t]he court allowed ... The defendants

argued that 'the principles of international law can only be effective through the serious

adherence to them by peoples of all countries.' The jury acquitted all defendants." Id

       In Washington v. Karon. No. J85-11-36(D. Wash., Dec. 10, 1985),four defendants were

arrested at the Hanford Nuclear Reservation,"a facility which produces most ofthe plutonium

used in United States nuclear weapons." Lawrence,supra, at 432. The court allowed the

defendants to raise the Nuremburg defense, and when they were permitted to call an expert

scientist to support their position, the prosecution "[ajfter consulting with attorneys from the

United States Department ofenergy[]moved to dismiss the case." Id. at 433 (citations

omitted).
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       Perhaps the most important representation ofjudicial disagreement with the decisions

cited in the R&R is the concurring statement of Judge Edmund B. Spaeth, Jr., presidentjudge of

the Superior Court ofPennsylvania in the appeal of the original Plowshares defendants.

Although the majority decision was later overturned by the Pennsylvania Supreme Court, the

concurring opinion of Judge Spaeth remains a testament to judicial wisdom, and a guide to all

future courts facing cases such as the present. Lengthy as it is. Judge Spaeth's opinion, at least

in part, is worth the read:

       [WJhenever a defendant pleads justification, the court should ask,"What value higher
       than the value of literal compliance with the law is defendant asserting?" The trial court
       failed to ask this question. Apparently in its eyes no higher value is implicated in this
       case. And for the dissent, this case is to be decided as we would decide a case involving
       "the theft and destruction of guns or explosives by altruistic and well-meaning citizens
       who sincerely believe that guns or explosives possess the potential to kill at sometime in
       the future." Dissenting op. at 1121-1122. But appellants are not pleading as their
       justification the danger arising from "guns or explosives;"they are pleading the danger
       arising from nuclear missiles. One who does not understand that danger does not
       understand appellants' plea.
       The trial court says that appellants "failed to establish the urgency or 'imminent danger'
       ofthe public disaster which [they] sought to prevent." Slip op. at 29. But, I submit, a
       "public disaster" is "imminent.""Imminent" means "[tjhreatening to occur immediately;
       near at hand; impending;-said esp. of misfortune or peril." Webster's New International
       Dictionary 1245(2d ed. 1938). By resorting only to our own Government's official
       publications, we may learn that the United States and the Soviet Union-without reference
       to Great Britain and France (and others? Israel?)-each has the capability of destroying the
       other within minutes and on command.See e.g., The Effects of Nuclear War, Office of
       Technology Assessment(1979)(describing effects of nuclear attacks in various
       proportions); The Effects of Nuclear Weapons,Department of Defense and Energy
       Research and Development Administration(1977)(same). Why,then, is disaster not
       "imminent"? Because our Government and its allies would never initiate the attack?
       Because the Soviet Union is afraid to initiate it, knowing what our response would be? If
       this is the trial court's reasoning-we don't know,for the court doesn't state its reasoning-
       one can only say that many find it unpersuasive. Among the many are the Bishops ofthe
       Catholic Church, who say in theirPastoral Letter on War and Peace, The Challenge of
       Peace: God's Promise and Our Response, Publ. No. 863, U.S. Catholic Conf. at 40
       (1983):

               We live today, therefore, in the midst of a cosmic drama; we possess a power
               which should never be used but which might be used if we do not reverse our
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               direction. We live with nuclear weapons knowing we cannot afford to make one
               serious mistake.


      Also among the many are the authors ofthe Bulletin ofAtomic Scientists, whose symbol
      for the imminence of nuclear war is a clock. In the January 1984 edition ofthe Bulletin,
      the clock stands at three minutes to midnight(in the December 1983 edition, it stood at
      four).

      The dissent, like the trial court, says that "it was unreasonable as a matter of law [for
      appellants] to believe that nuclear war could be avoided merely by destroying one of
      several components being separately made for incorporation intofuture nuclear missiles."
      Dissenting op. at 1121.(emphasis in original). See Trial Court Slip op. at 29-30. But
      nothing in the record warrants the conclusion that this was appellants' belief. Appellants
      do not assert that their action would avoid nuclear war(what a grandiose and unlikely
      idea!). Instead, at least so far as I can tell from the record, their belief was that their
      action, in combination with the actions of others, might accelerate a political process
      ultimately leading to the abandonment of nuclear missiles. And that belief, I submit,
      should not be dismissed as "unreasonable as a matter oflaw." A jury might-or might not-
      find it unreasonable as a matter offact. But that is for a Jury to say, not for a court.

      The fallacy in the trial court's and the dissent's reasoning is to equate "reasonableness"
      with "success": if by breaking the law you did not succeed in gaining your objective, you
      may not plead justification. But reasonableness is a function ofthe actor's situation. If the
      peril to the town was slight, it may indeed have been unreasonable of me to make a
      firebreak by destroying my neighbor's house. But if the peril was great, my action may be
      seen in a very different light, and my plea ofjustification may prevail, even in the face of
      proof that the fire swept across the space I had cleared, and burned down the town. See,
      e.g.. State v. Wooten, Crim. No. 2685 (Cochise Cty., Ariz. Sept. 13, 1919)(unreported)
      reprinted in Comment,The Law of Necessity and the Bisbee Deportation Case,3
      Ariz.L.Rev. 264 at 278(1961)("One claiming the right to destroy buildings to prevent
      the spread of a conflagration must necessarily have that right determined by the condition
      existing or appearing to a reasonable man to exist at the time ofthe destruction."). See
      generally Amolds «fe Garland, The Defense of Necessity in Criminal Law: The Right to
      Choose the Lesser Evil,65 J.Crim.L. & Criminology 289(1974).'

               No peril is greater-no peril even approaches-the peril of nuclear war:

               The people in the Pentagon offices and their counterparts in the Kremlin where
               the questions ofcoping with war injuries are dealt with must be having a hard
               time of it these days, looking ahead as they must to the possibility of
               thermonuclear war. Any sensible analyst in such an office would be tempted to
               scratch off all the expense items related to surgical care of the irradiated, burned,
               and blasted, the men, women,and children with empty bone marrows and
               vaporized skin. What conceivable benefit can come from sinking money in
               hospitals subject to instant combustion, only capable of salvaging, at their intact
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               best, a few hundred ofthe victims who will be lying out there in the hundreds of
               thousands? There exists no medical technology that can cope with the certain
               outcome ofjust one small, neat, so-called tactical bomb exploded over a
               battlefield. As for the problem raised by a single large bomb,say a twenty-
               megaton missle (equivalent to approximately two thousand Hiroshimas) dropped
               on New York City or Moscow, with the dead and dying in the millions, what
               would medical technology be good for? As the saying goes, forget it. Think of
               something else. Get a computer rurming somewhere in a cave, to estimate the
               likely numbers of the lucky dead.

       L. Thomas, On Medicine and the Bomb, reprinted in L. Thomas, Late Night Thoughts on
       Listening to Mahler's Ninth Symphony at 118(1983).

       Nor is the peril confined to those who will be "irradiated, burned, and blasted." It extends
       much farther, to our survival as a species. If only a small fraction of the nuclear missiles
       now able to be fired, either by us or the Soviet Union, are fired, a "dark nuclear winter"
       will occur: a cloud of debris will block off our sunlight; temperatures will plunge; and
       our death by freezing or starvation will follow. Scientists have identified a 100 megaton
       explosion as the "nuclear war threshold" that once crossed will lead to such a global
       catastrophe. See "After Atomic War: Doom in the Dark," Phila. Inquirer, November 1,
       1983, at 1. It is in the light of this peril that the reasonableness of appellants' belief must
       bejudged.
       Perhaps a jury will discount evidence that our situation is as desperate as the authorities I
       have alluded to believe. Or perhaps a jury will regard appellants' conduct as mere
       bravado. On either of these views, appellants' plea ofjustification will fail. But we must
       leave such appraisals to a jury. For we are not entitled to hold,"as a matter oflaw," as the
       dissent would, that a jury could not find that our situation is as desperate as appellants
       offered to prove, and then, proceeding from that finding, could not go on to decide that
       appellants' conduct, however unlikely of success, represented a reasonable response. I
       admit that for my part-and here at least I suppose that the dissenters and I are not far
       apart-I am skeptical of appellants' conduct. I believe there are better ways,the Bishops'
       among them. But that is what trial by jury is all about: to ensure that the defendant is not
       judged by a skeptical judge but by his peers.

Commonwealth v. Berrigan. 472 A.2d 1099, 1114-16(Pa. Super. 1984), rev'd, 501 A.2d 226
(Pa. 1985).

       The USMJ had a duty to examine this matter against its own background and in light of

the entire history of other resistance and plowshares-inspired actions, notjust those which

supported the conclusion it ultimately reached. This it failed to do, a failure fatal to these

conclusions.
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        The same is true regarding the R&R's conclusion as to the "domestic" portion of

Defendants' motion. Without diminishing the substance of the argument in Defendants' original

memorandum (and while fully incorporating it herein), it is important presently to focus on the

one particular element in the R&R which negates it in its entirety on this issue. Rather than

explore in depth the compelling references to international norms regarding nuclear weapons and

the duties these impose per application of domestic law, the R&R seems to obliterate the

Defendants' argument by its attention to one word:''use" While the R&R recognizes

Defendants' claims that federal criminal law(18 U.S.C. § 2441)incorporates elements of the

"Geneva Conventions and conduct prohibited by certain parts ofthe Hauge [5zc] Convention,"

R&R at 77-78, it rivets its attention on a distinction stemming from the Ninth Circuit's decision

in U.S. V. Kellv. 676 F.3d 917(9"^ Cir. 2012),"noting that a 'natural reading' ofthe Hague

Convention shows it only 'prohibits use of certain weapons in "armed conflicts with nations."

R&R at 78(emphasis in original)."

        Even if this were true, it provides no support for a premise that, in this case, the object of

the demonstration, i.e., these massively grotesque weapons, are somehow not actually in use.

The deployment of the nuclear weapons at hand, their attachment to the submarines at Kings

Bay, and their silently sailing undetectable throughout the world's seas is a style of use that is

already harming the planet and its vulnerable citizens, and which is part of the crime they

represent.'*''




        '*'* At the August 2, 2018 hearing in this matter. Defendant Carmen Trotta eloquently outlined this premise:
"We use nuclear weapons, every president since Truman has used nuclear weapons by threatening people,just like
when you use a gun. when you point a gun to someone's head and you say,'Give me your money' and they give you
their money, because they've got a gun. Did you use the weapon? Yeah. We use nuclear weapons all the time."
Transcript of August 2, 2018 Hearing, pages 42-43.
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         This is not an unusual or extravagant understanding of domestic criminal law. While

"possession" of a destructive weapon (such as a firearm) is criminal under certain defined

circumstances,"brandishing" that weapon is a significantly more serious species of use of that

weapon (even if not fired or discharged), bringing even more serious consequence. See, e.g.,

Allevnev. U.S.. 570 U.S. 99, 104, 133 S. Ct. 2151, 2156, 186 L. Ed. 2d 314(2013).

         The statutory definition of"brandish" brings this argument even closer to the present

facts:


         For purposes of this subsection, the term "brandish" means, with respect to a firearm, to
         display all or part of the firearm, or otherwise make the presence ofthefirearm known
         to another person, in order to intimidate that person, regardless of whether the firearm
         is directly visible to that person.

18 U.S.C.A. § 924(c)(4)(emphasis added).

         Analogizing this to these circumstances, it is clear that the nuclear weapons imbedded in

the Kings Bay fleet are indeed brandished, and thus very much in use and very much under the

Hague Convention umbrella. See also Declaration of Professor Francis Boyle, filed July 2, 2018,

Doc. 89-1,^ 17("Since the tlireat or use of the Trident 11 is inherently criminal under

international and US law, anything used to facilitate its operation is an instrument of a crime.")

         This assessment is completely bypassed by the R&R. Its limited analysis of Defendants'

argument, its short shrift of the compelling nature of that argument and the legal implications

(both international and domestic) of the existence of nuclear weapons, leaves this Court with

little to do but reject the R&R in toto.

    V.      Conclusion


    For reasons outlined above, and as required by 28 U.S.C. § 636(b)(1)(C), Defendants

respectfully pray that the Court grant Defendants' Motion to Dismiss.
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      Respeclfully submilted this 28''^ day of May 2019.



                                                     Stephen    Kelly, S.J.
                                                     Pro Sc Defendant
      Glynn County Detention Center
      100 Sulphur Springs,
      Brunswick. GA 31520
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                               CERTIFICATE OF SERVICE



       I hereby certify that on the 28*^ day of May 2019,1 had served upon the Clerk of this

Court, and by the Clerk's electronic filing (NEF), the Assistant United States Attorney, a copy of

the foregoing DEFENDANT'S OBJECTIONS TO THE MAGISTRATE JUDGE'S

REPORT & RECOMMENDATION.


       Dated this 28^'^ day of May 2019.


                                                                      ,


                                                           Stephen    Kelly, S.J.
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